                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 Inventergy LBS, LLC,                                        Case No. 2:19-cv-239
        Plaintiff,                                           Patent Case
        v.                                                   Jury Trial Demanded
 Micron Technology, Inc.,

        Defendant.


             PLAINTIFF INVENTERGY'S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Inventergy LBS,

LLC hereby dismisses this action without prejudice. Defendant has not yet answered the

Complaint or moved for summary judgment.



 Dated: August 24, 2019            Respectfully submitted,

                                   /s/ Isaac Rabicoff
                                   Isaac Rabicoff
                                   Rabicoff Law LLC
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                                   Chicago, IL 60603
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                                   Counsel for Plaintiff
                                   Inventergy LBS, LLC




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing document was served on all parties

who have appeared in this case on August 24, 2019, via the Court's CM/ECF system.


                             /s/ Isaac Rabicoff
                             Isaac Rabicoff




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SO ORDERED this ______ day of _______________, ______.


                   _____________________________________
                   UNITED STATES DISTRICT JUDGE




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